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Franklin J. Weyer                                                   10 August 2023
21 Bare Rd.
Mechanicsburg, PA., 17050
Fjw6179@gmail.com
717-443-8674

Honorable James Emanuel Boasberg,
Chief Judge of the United States
District Court District of Columbia,
333 Constitution Avenue N.W.,
Washington D.C., 20001

RE: United States vs. Weyer,
1:22-cr-00040

To the Honorable James Emanuel Boasberg;

   Sandra is my wife of almost 40 years. When we met, I could tell she would be a good wife
and mother, and as it turns out she was, especially where our children and grandchildren were
concerned. She forfeited the company of friends for our family’s sake. Her total concentration
was on a clean house, no one having to babysit our children or grandchildren to keep them
safe, and enjoying each other's company for a lifetime. That’s not to say everything was
perfect, but when things fell apart sometimes, Sandy was always in the corner waiting with her
bottle of glue, hammer and nails, ready to put things back together again. For these things I
will be forever grateful to her, and to the Lord for sending her to me.

   After our children grew up and our grandchildren grew to an age where they had friends of
their own and little room in their schedule for grandparents, Sandy concentrated on a new
circle of friends devoted to serving their community and people in need, which she did with
both her time and her financial resources. She found her place in the community with friends
who adored her and who she was in her heart.

   Your Honor, my wife’s life growing up has been a hard one, in a family of seven children with
not many financial resources. She relayed these hardships to me after we were married and I
swore she wouldn’t have to suffer these indignities again for the rest of her life. She overcame
these difficulties by becoming independent of her past and together we made a life of
fruitfulness and security we have enjoyed until now. I am making a heartfelt plea that her
mistake doesn’t cost her the victories she has so rightly obtained throughout her fruitful life.


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   Your Honor, Sandy will be 60yrs old this year, and should she be gone for an extended period
of time, I fear some repairs may never come in time. If it were possible, I would gladly serve
her sentence for her, and if it is in the realm of possibility, please consider this my formal
request to do so. Needless to say I love and cherish my wife very much. In lieu of this, I would
respectfully and wholeheartedly request leniency. Your consideration is much appreciated Your
Honor.

Respectfully Submitted,

Franklin James Weyer,
Husband to my wife and father of our family




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Barbara A Dickey
Shippensburg, PA 17257

July 18, 2023

Honorable James Emanuel Boasberg
Chief Judge of the United States District Court
District of Columbia
333 Constitution Avenue N.W.
Washington D.C. 20001

RE: United States v, Weyer, 1:22-cr-00040, (D.D.C)

Dear Honorable Judge James Emanuel Boasberg,

My name is Barbara Dickey. I am a Licensed Clinical Social Worker with a private practice in
Chambersburg, PA. I appreciate being able to send this letter to support Sandy Weyer. I met her
at an event in the Mechanicsburg area prior to Covid in which I was speaking on the needs of
our area as a social worker. She was chairing the meeting and was very receptive to what I had
to say which began a friendship that has lasted until today. I have attended numerous such
events in which she exhibited phenomenal leadership, gave information to help others in their
endeavors to negotiate their lives after Covid, was always sympathetic and made sure that
everyone felt welcomed. One of her jobs was to bring in speakers to educate attendees in
multiple areas of their lives such as CPR training.

When others needed support in any area of their lives, she was there for them emotionally and
socially, lending a helping hand when needed. Her sense of self exhibited a character of
extreme empathy, understanding and a depth that was admirable.

Throughout this process Sandy has stayed strong, did what was needed and never faltered or
quit helping others. This has been a learning process which has strengthened her resolve in her
walk of integrity. Whatever happens, and I truly hope for the best, Sandy will stand tall and walk
in the strength of character that she has always exhibited. If I can be of further help, please do
not hesitate to contact me.

Sincerely,
Barbara A Dickey
MSW, LCSW,
MEd




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Bruce R Mancini

305 Oaks Point Road

Blairsville, Pa. 15717



August 2, 2023



Honorable James Emanual Boasberg

Chief Judge of the United States District Court

District of Columbia

333 Constitution Avenue NW

Washington, DC 20001



RE: United States v. Weyer, 1:22-cr-00040, (D.D.C.)



Dear Honorable Judge James Emanual Boasberg,

Hello my name is Bruce Mancini, I am a long time friend of Sandy. We became friends after my wife
had become friends with Sandy. I first met Sandy when she came to visit us at our home. Sandy is a
wonderful human being; you will not find a kinder person. Sandy is a great friend and would give you
the shirt off her back if you needed it. I have spent many days discussing all aspects of life, family
and even politics with Sandy and I believe her to be someone with an unimpeachable character.
Someone that you can count on if you need help in any way.

Sandy is a tremendous family orientated person that has raised children and runs a wholesome
faith-based household. I have been personally been involved with Sandy in several functions where
the goal was to raise funds to keep small businesses afloat during the worst times of Covid
lockdowns. She has been a strong community leader in trying to keep our small businesses open
during those tough times.

Sandy is politically active in her community. Her work in this area is to ensure that everyone that has
the right to vote uses that right. Based on our conversations I believe she does her research
regarding political candidates and takes her right to vote very seriously. She is an outstanding citizen
of Pennsylvania and the United States.

This letter is directed to you, Judge Boasberg, to provide you with the type of person that Sandy is.
She is true to herself, her family and all her friends.

Sandy is a tough individual, she has been “through the ringer” of social media and pursued by the
FBI. She has remained strong and has worked very hard to hold her head high and remain the same
person she has always been. She has a strong support group of friends and family around her and
uses this support to continue to live the life she has lived, devoted to her family and friends and




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community support.
I have been with Sandy at political rallies at our State Capitol and she has never overstepped or
strayed from the acceptable norms and has never gone beyond the legal guidelines during any of the
political gatherings we have been present for. As I stated earlier, she is an outstanding, law-abiding
citizen. She has never defaced property or participated in any type of violence or vandalism, not only
during political gatherings, but in her entire life.

I am asking you to show leniency for Sandy as she is a very good person. A person with strong family
values. A law-abiding citizen that believes in this Country and is active in the implementation of the
democratic process.



Respectfully,



Bruce Mancini




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July 24th 2023



To the Honorable James Boasberg,



My name is Leah Hoopes, I am writing on behalf of my dearest friend Sandy Weyer. I have
known Sandy for many years, and I can tell you from the bottom of my heart she is woman of
true character and faith. Over the years I have watched Sandy in every situation this life has to
offer, and despite the adversity and stressful situations, she always remains calm, and selfless.
These traits in this day and age are truly rare. There is a quiet strength and a rational demeanor,
that is admirable , especially in a time in which our Country is incredibly weak and irrational.If
only there were more people like Sandy , we would be in a better place when it comes to
civility.


I can tell you this first hand as someone who has gone through some very personal and earth
shattering situations, Sandy has always offered a kind word, encouragement and strength. I am
very much an observer , and have seen countless times when she has offered her shoulder, an
ear to listen and comfort to those who are suffering. What she is facing right now is
unconscionable , she does not possess a violent bone in her body. Despite the countless
verbal attacks she receives, threats to her life and ridicule , she continues to see the positive.
Most people in her situation would have fallen apart, and have been led to anger when being
attacked the way that she has been but she chooses kindness.
We both share a love of our Lord and Savior, strong faith and a moral compass that is always
pointing north. Knowing Sandy’s background, she has suffered her own tragedies, losses and
has been a victim many times in her life. But despite all of this , she choose to forgive and to
make a better life for herself and her family. She honors her sacrament in marriage, is a
wonderful mother and grandmother who is devoted to their well being and their freedom. None
of us walk without sin , we walk with faith knowing that the ultimate judgement comes from our
Lord , and that he is forgiving. Sandy does not deserve to be punished for crimes she did not
commit , and certainly to this degree of harshness. In the good book we are taught about




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forgiveness and how gracious God is to all.
Judge not, and you will not be judged; condemn not, and you will not be condemned; forgive,
and you will be forgiven. Luke 6:37


God is merciful and gracious, slow to anger and abounding in steadfast love and
faithfulness" (Exodus 34:6)


I question the severity of the punishment she is facing, and ask the good Lord, why would
someone with the heart and soul like Sandy be kept away like a caged animal, for a non violent
act ? How does this happen in the United States of America? A country she loves ,and has been
such an asset in her community? What purpose does this serve? It serves none, it would only
deprive her husband, children, grandchildren, friends , family and community of a beautiful and
loving heart. She is deserving of kindness, empathy and forgiveness just as she has given to
others, including myself. I will continue to pray for her and for your decision your honor . Her
time can be well spent at home in reflection, and keep her freedom and ability to be a staple in
her home and in her community.


Sincerely,


Leah Hoopes


Chadds Ford Pennsylvania




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Dr. Richard Saccone                                                        July 26, 2023
404 Boston Hollow Road
Elizabeth, PA 15037

Honorable James Emanuel Boasberg

Chief Judge of the United States District Court
District of Columbia
333 Constitution Avenue N.W.
Washington D.C. 20001

RE: United States v. Weyer, 1:22-cr-00040, (D.D.C)

Dear Honorable Judge James Emanuel Boasberg,

I am a retired Military Officer, retired College Professor and retired PA State House
member. I currently run the Constitution and Godly Heritage Discovery Center outside
Pittsburgh. I have known Sandy Weyer for three years on a professional and social
basis. When I recently ran for Lt. Governor in 2022, Sandy also worked on my
campaign.

I can say without question she is an honest, trustworthy person and strong advocate
for the US Constitution. In fact, she memorized the Constitution and loves to quote it. I
have witnessed Sandy in many stressful situations, and she always strives to do the
right thing by God and her country. She is an exemplary citizen in every way.

Sandy most often thinks of others before herself and is a person anyone would be
honored to call their friend. When someone is in need, she leaps to assist. Sandy is
active in her community and a person anyone would welcome on their team.

I ask you to strongly consider the most leniency possible for Sandy. Even under the
duress of this ordeal she has maintained the highest level of character. Especially in
these trying times Sandy is the kind of citizen our country needs in our community.

God Bless you as you make the weighty determination of the fate of this great woman.

Most Respectfully,

Richard Saccone, Ph.D.




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Carol Sojda
Carlisle, PA 17015

July 14, 2023

Honorable James Emanuel Boasberg
Chief Judge of the United States District Court
District of Columbia
333 Constitution Avenue N.W.
Washington D.C. 20001

RE: United States v. Weyer, 1:22-cr-00040, (D.D.C)

Dear Honorable Judge James Emanuel Boasberg,

My name is Carol Sojda, I am a retired New York State Corrections officer. Thank you for
allowing me to express my support of Sandra Weyer, whom I have known for approximately
four years. I am writing to offer a more complete picture of who Sandy really is to her family,
friends and community. Having professionally worked as a corrections officer, I am in a position
to offer you a strong and unique position to speak of Sandy's character. Sandy was one of the
first friends that I met when I moved to the community we live in.

I met Sandy at the start of the pandemic. Sandy was helping people in our community who
were afraid to go out of their homes, people she had never met. She selflessly assisted them
with shopping, appointments and errands, showing them love, kindness and hope. She was
available to help anyone in the community at that time with anything, being a liaison to
resources that helped people who were struggling in our community. I personally witnessed
Sandy hugging community members who were crying and extremely upset, consoling them. I
looked on as Sandy would calm them down, and give them hope, and if possible navigate
them to resources that might possibly assist them. This is just one of many examples I
personally witnessed of Sandy's kind heart giving back to her community, without asking or
expecting anything in return. Having been invited to Sandy's home for many get-togethers, I
have seen how important family and friends are to her, by the love she reflects on them and the
smiles it brings to their faces. Even after Sandy's arrest, she still puts helping others in the
community, and friends and family first, before her own needs.

Sandy and I have had many conversations. I have professionally watched first hand as people
become negative, vengeful and vindictive after being arrested and convicted. They spiral into
the depths of darkness. Not Sandy, she became even more loving, caring and kind, but most
of all, reflective on what she could do to better herself and those around her. Sandy has
become one of my most cherished and trustworthy friends, because I have walked among
those that have chosen to descend into negative and dark pathways when faced with looking
in the mirror. Sandy has looked into that mirror, put her shoulders back, and taken positive
steps to accept her actions and initiate positive change. Sandy finds time for family and
friends, and assisting others in our community whenever possible.

Your Honor, I am confident that Sandy will emerge from this an even stronger and better
person. Regardless of the outcome, I stand beside Sandy to help her in any way I can. Thank




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you for allowing me this opportunity to express my thoughts as you consider the appropriate
sentence.


Respectfully

Carol Sojda




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Cheri Pomeroy
Carlisle, PA 17015

July 30, 2023

Honorable James Emanuel Boasberg
Chief Judge of the United States District Court District of Columbia
333 Constitution Avenue N.W.
Washington D.C. 20001

RE: United States v. Weyer, 1:22-cr-00040, (D.D.C.)

Dear Honorable Judge James Emanuel Boasberg,

My name is Cheri Pomeroy, I am recently retired from the Pennsylvania Higher Education
Assistant Agency where I had worked as an IT Tech Specialist for the past 33 years. Thank you
for allowing me to express my support for Sandra Weyer, whom I have known for the past 20
years.
I am writing to enable you to get a better picture of the type of person Sandy really is. For the
past 20 years Sandy has not only been my sister-in-law, she has also been a very close friend.

I have a large amount of respect for Sandy due to the level of morals and values she posses
which I have watched her live out consistently over the course of our friendship. For as long as
I have known her Sandy has and still is always willing to lend a hand to anyone who needs
assistance. Friends, family, even people from the surrounding area whom she may not even
know. I have witnessed her help numerous people with a multitude of different tasks from rides
to doctor appointments, helping with grocery shopping, helping clean older and disabled
people's homes to fundraising for those in need and even giving financially from her own
pockets. I have not only witnessed, but have also personally experienced the hope, caring and
genuine love Sandy has brought into people's lives, simply by being the person she is.

For all that has transpired to date in her life since January 6th, 2021, which includes not only
demeaning letters and social media posts but also loss of friendships and shunning by family
members, one may think that her kind, caring and giving disposition would plunge into the
depths of darkness. Not a chance. In addition to being the same wonderful person she has
always been, Sandy started looking into ways she could better herself, her life and also those
closest to her.

Your Honor, I am truly honored to know such a woman as Sandy Weyer, whom I have watched
throughout the years bring such hope, love and a shinning light into the darkness of so many
people's lives. Regardless of the outcome of her sentencing I will stand beside Sandy, help and
support her in every way I can, just as she has done for many others.




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Thank you for allowing me to share the Sandy I know with you as you consider the appropriate
sentence.

Respectfully,

Cheri L Pomeroy




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Dean Klopp
Bethel, PA 19507

July 30, 2023

Honorable James Emanuel Boasberg
Chief Judge of the United States District Court
District of Columbia
333 Constitution Avenue N.W.
Washington D.C. 20001

Your Honor,

Thank you for the opportunity to speak on Mrs Weyer’s behalf. It is my honor to
do so! My wife and I own and operate a contracting and consulting business in
Pennsylvania, employing 27 folks full-time. We started our business working out
of our home and have been very blessed. Being a business owner for 25 years and
married with children for 30 years, I’ve certainly gained much experience and
opportunities to meet and deal with all kinds of people in all kinds of places.

Seldom in my life have I met another like Sandra. Someone who puts others
before their own needs or wants is certainly rare. What an example of
selflessness she portrays yet never asking for anything in return. In fact, every
time I met Sandra she was asking me and others if we needed anything! She
always asked how she could help the people around her.

I’ve known Sandra for about 3 years. In that time, she never showed animosity to
anyone. I don’t think she spoke badly about anyone, ever. She always held great
respect for others even when not in agreement.

During the pandemic, when so many folks were afraid to leave their homes or go
to the grocery store, Sandra offered her time to go along with folks and show
them that going outside again can be done. She helped build people’s courage




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just so that they could try and live a normal life again!
Another example of her demeanor and character, was after being arrested and
charged with certain crimes for the January 6th occurrences. I never heard her
speak badly of the law enforcement or government. She was just going to believe
and trust in God for justice to be done.

Afterwards, when at a community gathering, she had learned by memory and
perfectly recited the Declaration of Independence. She cried while saying the
words but kept her head up and just kept going until finished. I thought this to be
a fine example of someone who loved their country, dearly.

That day I witnessed her recital that has left a deep impression on my life and
how we should think and treat others, no matter the circumstance. Her example
is one I share and hope to match one day.

Please consider when deciding Sandra’s fate that the world we have lived in has
been turned upside down over the last 3 ½ years. Not that there’s an excuse for
one’s behavior, but there are circumstances and reasons…right or wrong. May we
never again have to go through a time such as this.

Your Honor, I stake my reputation on this, that our world is a better place when
Sandra Weyer is in it. Please have mercy on her as so many will be affected now
and in time to come.

Respectfully,
Dean Klopp




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Cindy Bear
2234 Sycamore Road
York, PA 17408


August 10, 2023

Honorable James Emanuel Boasberg
Chief Judge of the United States District Court
District of Columbia
333 Constitution Avenue N. W.
Washington D.C. 20001

RE: United States v Weyer, 1:22-cr-00040, (D.D.C.)

Honorable Judge James Emanuel Boasberg,

My name is Cindy Bear. I am a Senior Accountant for a convenience store chain. Thank you for the
opportunity to express my complete support of Sandra Pomeroy Weyer, who I have known for 3 years.

I met Sandy at the beginning of 2020 through a mutual friend. One of the first things I noticed about
Sandy was how much she loved people, God and our country. She is the kind of person who will give
selflessly to help others in need. I have seen her give her time and resources to help others who were
struggling to survive. When people were scared, hungry or discouraged, Sandy was there to help them
in any way that she could. Sometimes that meant an encouraging word, a comforting hug, and often
giving out of her own pocket to help meet their material needs. This was at a time when her income was
greatly diminished due to the pandemic restrictions. Sandy was always willing to help anyone in need,
even complete strangers. Sandy is someone who will put others needs in front of her own, even in
difficult circumstances. While you may frequently hear a person say that they would trust someone with
their life, in Sandy’s case, I can say that I would trust her with my precious grandson’s life. I know that
she would give her life to protect his without hesitation. I say that not just because she is my friend, but
because she would do it for any child in danger.

As an Accounting Manager for several decades, one of the things that I am asked to calculate is ROI,
return on investment. Is what we are going to get out of an investment worth what we are putting into
it. Your Honor, I would respectfully ask you to consider the return on investment when you are
sentencing Sandy. Incarceration comes at a very high cost to families and society. Sandy has admitted to
me and others that she shouldn’t have entered the building on that life changing day. Please consider
the very high return on investment that comes from community service, which Sandy is very skilled at.
Regardless of whatever decision is made, I will stand beside my friend to support her in any way that I
can. Thank you for allowing me to express my opinion as you consider what sentence to impose.

Respectfully,
Cindy Bear




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Darla Byerly
843 Pinetown Road
Lewisberry, PA 17339
August 10, 2023

Honorable James Emanuel Boasberg
Chief Judge of the United States District Court
District of Columbia
333 Constitution Avenue N.W.
Washington D.C. 20001
RE: United States v. Weyer, 1:22-cr-00040, (D.D.C)

Dear Honorable Judge James Emanuel Boasberg,
My name is Darla Byerly. I’m writing to express my full support for Sandra Weyer, who I have
known for several years.

Sandy is a woman of strong character and conviction. I’ve spoken with her on multiple occasions
about the events of January 6, 2021. Along with countless other proud Americans, Sandy went to
Washington D.C. to exercise her God-given, constitutionally protected right to petition our
government for a redress of grievances. She went in support of our country and the political
process that makes America so unique and special.

While Sandy takes full responsibility for the emotional words she spoke, she did not act
violently. It’s extremely unfortunate that Sandy, and so many other patriotic Americans, got
caught up in the events that unfolded that fateful day.

Unlike so many, Sandy refused to take a plea bargain. She explained to me that the decision was
agonizing, as she is a wife, mother, and grandmother with unspeakable loss on the line. In the
end, she realized that to plead guilty, with the intent of receiving a lesser sentence, would simply
be a lie. Sandy is a woman of immense courage, and possibly the bravest person I know.
Please find it in your heart to be lenient with Sandy. She is kind, caring, and hard-working. She
does not deserve to go to prison. That would be an injustice far greater than her words and
actions that day.


Respectfully,
Darla Byerly




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Dear Judge Boasberg,

I met Sandy Weyer in the beginning of the Pandemic, around April 2020.
From the first moment I met her, she was a kind and Compassionate person and within
a very short time, I knew this was a woman who was so helpful and considerate of
others, so giving of her time to help anyone in need and that she clearly loved her
Country and her state.

She was so helpful anytime someone needed anything if they were sick, if someone
reached out to me who needed anything, she was always someone who I felt I could
reach out to because I knew she would try to help in some way.

Sandy loves her country. She was one of the most patriotic people I had met during the
pandemic. I could never see Sandy as someone who would intentionally and
maliciously break any law. She is a good citizen of the state of Pennsylvania and a
citizen of the United States.

Consider having mercy on any sentencing. She doesn't deserve to be treated like a
criminal, locked in a cell. Her family and friends love her and want to see her
continuing to thrive in the community and in everyone's daily life.

If you have any other questions, I can be reached at 724-462-3338.

Thank you.

Sincerely,
Diana Campbell


Diana Campbell
Health Freedom Pennsylvania




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Diana S Mancini

3286 Thornwood Drive

Bethel Park, Pa. 15102



August 1, 2023



Honorable James Emanual Boasberg

Chief Judge of the United States District Court

District of Columbia

333 Constitution Avenue NW

Washington, DC 20001



RE: United States v. Weyer, 1:22-cr-00040, (D.D.C.)



Dear Honorable Judge James Emanual Boasberg,

Hello my name is Diana Mancini, I am a long time friend of Sandy. We became friends and continue
to communicate and stay in contact on social media and phone calls with occasional visits either on
her side of the state or mine. We first met on a visit to our State Capitol several years ago. Sandy is a
wonderful human being; you will not find a kinder person. Sandy is a great friend and would give you
the shirt off her back if you needed it. I consider her to be one of my best friends and someone with
an unimpeachable character. Someone that you can count on if you need help in any way.

Sandy is a tremendous family orientated person that has raised children and runs a wholesome
faith-based household. I have been involved with Sandy in several functions where the goal was to
raise funds to keep small businesses afloat during the worst times of Covid lockdowns. She has been
a strong community leader in trying to keep our small businesses open during those tough times.

Sandy is politically active in her community. Her work in this area is to ensure that everyone that has
the right to vote uses that right. She does her research regarding political candidates and takes her
right to vote very seriously. She is an outstanding citizen of Pennsylvania and the United States.

This letter is directed to you, Judge Boasberg, to provide you with the type of person that Sandy is.
She is true to herself, her family and all her friends.

Sandy is a tough individual, she has been “through the ringer” of social media and pursued by the
FBI. She has remained strong and has worked very hard to hold her head high and remain the same
person she has always been. She has a strong support group of friends and family around her and
uses this support to continue to live the life she has lived, devoted to her family and friends and




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community support.
I have been with Sandy at political rallies at our State Capitol and she has never overstepped or
strayed from the acceptable norms and has never gone beyond the legal guidelines during any of the
political gatherings we have been present for. As I stated earlier, she is an outstanding, law abiding
citizen. She has never defaced property or participated in any type of violence or vandalism, not only
during political gatherings, but in her entire life.

I am asking you to show leniency for Sandy as she is a very good person. A person with strong family
values. A law abiding citizen that believes in this Country and is active in the implementation of the
democratic process.



Respectfully,



Diana Mancini




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Carol A. Lutzkanin
30 Foxanna Drive
Carlisle, PA 17015


Honorable James Emanuel Boasberg
Chief Judge of the United States District Court
District of Columbia
333 Constitution Avenue NW
Washington, DC 20001


RE: United States v. Weyer, 1:22-cr-00040, (D.D.C)


Dear Honorable Judge James Emanuel Boasberg,

Thank you for allowing me to express my support for Sandra Weyer, whom I have known for
approximately three years. Since I have known Sandy, she has been a loyal, honest, and
trustworthy friend. What drew me to Sandy is her devotion to friends and family, her positivity,
and her willingness to selflessly help anyone she meets. No matter what circumstances are
affecting her own life, she always finds the time to help others who reach out to her. She is
always willing to lend a helping hand, no matter the task. Sandy's kind and caring personality is
infectious to those around her, and she is an asset to our community.

People make mistakes, err in judgement, and I believe that is what happened with Sandy in this
case. I am confident that she will take this negative situation and turn it into a positive, and I
will stand beside her in every way I can.

Thank you for allowing me to share with you how much Sandy means to me, her family, her
friends, and our community. I hope this will help guide you as you consider her sentence.

Respectfully,

Carol A. Lutzkanin




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Donald Waigand
2924 Custer Avenue
Pittsburgh, PA 15227

August 15, 2023

Honorable James Emanuel Boasberg
Chief Judge of the United States District Court
District of Columbia
333 Constitution Avenue N.W.
Washington D.C. 20001

RE:United States v. Weyer, 1:22-cr-00040, (D.D.C)

Dear Honorable Judge James Emanuel Boasberg,

My name is Donald Waigand and I appreciate the opportunity to tell you about my friend
Sandy Weyer. I met Sandy in 2020 and became fast friends. I’ve spent time at her home
and have seen firsthand the love and care she extends to her family and friends. Sandy is
fun loving and full of energy. I admire her strength and resilience. Being persecuted and
being found guilty I would suspect a person would fall into depression and give up,
perhaps even lash out. Not Sandy. She continues to be a blessing to those around her.
Our world is so divided right now. If you don’t agree with someone you’re a deplorable, a
libtard, a racist, a homophobe, a terrorist.
I know you see Sandy through the eyes of those that have persecuted her. My hope after
reading all the letters sent to you on behalf of Sandy you will be able to see her through
the eyes of those that personally know her and the true intentions of what is in her heart.
I ask for leniency for my friend, the sister of my heart, Sandy Weyer.


Respectfully,



Donald Waigand



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Dear Honorable Judge James Emanuel Boasberg,

My name is Falishia Pomeroy and I am the niece of Sandy Pomeroy/Weyer. I am a mother of 3
beautiful children and a woman who comes from a close knit family.

Growing up, my Dad for the first half of my life, was a single father, raising a girl. Many times, I
remember my Aunt Sandy stepping in to give me guidance in areas that my Dad just couldn’t.
Such as making me a “girl” basket and so lovingly sitting down with me to explain what each
thing was for. To me, she has always been the kind of Aunt who would show up. No matter what
the circumstances, because to her, being there to show support was important. Even as an
adult, she still has shown up for me in some of the most trying times of my own adult life.
Sometimes it’s giving advice, others it’s just being an ear to listen and others it’s just giving you
a light hearted, goofy environment to decompress in.

She has always stood for what she believed was right with such a passion. I know without a
shadow of a doubt, that’s what she was doing on January 6th. She was standing up for what
she believed was right. She so fiercely believed in standing for our Country because she wants
a free one for her children, our children, and their children and every generation to come.

Despite receiving a magnitude of threats due to all of this, she has still put her best foot forward
in maintaining who she is at her very core and in helping her community. This to me, speaks
volumes of her character.

There is no doubt in my mind that her passion in standing for what she believes in, got ahead of
her January 6th. I know that she made decisions she typically would not have. I know that she
has regret for not doing things differently. I also know, that I myself asked her to go into the
building to find my Dad whom she had gotten separated from.

Despite how she is being portrayed, what I saw was a woman trying to get a sea of people to
make a way for the cops or military to get into the building. What I saw, was one woman using
her passionate voice to still try to maintain some kind of dignity within the sea of people.

My Aunt is not a monster. She is a woman who is filled with love, compassion, support, passion
and a moral standing. She is a woman who has time and time again, showed up. She shows up
for those she cares deeply for and those that she doesn’t even know. Her mistakes on January
6th, do not define who she is as a person in whole. She has made mistakes that she deeply
regrets. As a wise woman, I have never known her to make a mistake that she did not learn
from. She has never been known to make the same mistake twice.

I do beg of you to please take a look at who she is as a whole person, what she means to her
loved ones, to her community, to her family and to me. I also thank you tremendously for your




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time.




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Gina Hatzimarkos
Owner - Brothers Diner
705 Gettysburg Pike
Mechanicsburg, PA 17055


July 29, 2023


Honorable James Emanuel Boasberg
Chief Judge of the United States District Court
District of Columbia
333 Constitution Avenue N.W.
Washington D.C. 20001


RE: United States v. Weyer, 1:22-cr-00040, (D.D.C)


Dear Honorable Judge James Emanuel Boasberg,

My name is Gina Hatzimarkos and I own Brothers Diner in Mechanicsburg, PA. I appreciate the
opportunity to write to you on behalf of Sandy Weyer. I met Sandy as a customer to my diner
approximately three years ago. Sandy would come in to meet members of our community,
whom she was helping during the pandemic. I was able to witness Sandy interact and help
others, many who were initially strangers. Watching Sandy's display of kindness and empathy
towards people she just met was truly an indication of her moral character.

Through my interactions with her during her visits to the diner, we also became close friends,
as I came to see that Sandy was a kind, caring, honest, and trustworthy soul. If she happened
to be at the diner at closing time, she would help my staff and I clear tables so we could leave
on time. My unique profession of owning a diner and my daily interactions with all kinds of
people, have given me the ability to observe and recognize a good, kind-hearted, trustworthy,
and honest person, and Sandy is the epitome of that person.

I understand she has been convicted in your court, and I am grateful that you are taking the
time to accept and read this, as her conviction does not define the person she is. It does define
that she made a mistake, an error in judgement, something we all have all done to different
extents. I have no doubt in my mind that Sandy will reflect on this and use it to become an
even better person in every way possible, and she will have my full support as a friend standing
beside her, helping in any way I can.




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Respectfully,

Gina Haztimarkos




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Heather Martin                                                        August 11, 2023
York, PA

Honorable James Emanuel Boasberg
Chief Justice of the United States of District Court
District of Columbia
333 Constitution Ave. NW
Washington DC 20001

RE: United States V. Weyer 1:22-cr-00040(D.DC.)

Dear Honorable Judge James Emanuel Boasberg,

My name is Heather Martin. Thank you for taking the time to read this letter in my
support for Sandra Weyer.

In the three short years I have known Sandy, I can tell you she is caring, compassionate
and would help anyone in their time of need without hesitation. She loves God, her
family, friends and country; which is why I do not believe she had any intentions of
malice upon entering the Capitol building in Washington D.C. on January 6, 2021. I
believe Sandy was there that day to support the Constitution of the United States of
America and the freedom it affords Americans to petition our government for a redress
of grievances.

Your honor, I’m asking you to take this letter and the Constitution of the United
States of America into consideration when it comes to Sandy’s sentencing.

Respectfully,

Heather Martin




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Honorable James Emanuel Boasberg                                                     8/2/23
Chief Judge of the United States District Court
District of Columbia
333 Constitution Avenue N.W.
Washington D.C. 20001

RE: United States v. Weyer, 1:22-cr-00040, (D.D.C)

Dear Honorable Judge James Emanuel Boasberg,


I, Holly Amig, am writing this letter to provide a character reference for Sandy Weyer, who I
know as a friend. I first met Sandy around the summer or 2020. I liked her the minute I met her.

My friend and I had opened a brewery and restaurant just a few months before Covid started.
We put everything we had into this business. It was, and still is our livelihood. After Covid hit us,
we met Sandy. We work in a small town. Our sales were down to less than 25% of our usual
sales. It wasn’t looking good for the business. Our staff consisted of single mothers, heads of
households and college students who all depend on their jobs. Then we met Sandy. She was
supporting small businesses in the area in any way she could. She saw we were hurting and
would bring large groups in every week to help boost our sales. In fact, she was so supportive
over the next two years that she is single handedly one of the reasons we are still open. Her
support for us, our staff, and our community was above and beyond anyone else’s we ever met.
She dedicated her life to helping other people survive through these hard times. I saw this with
my own two eyes. And after everything she did, she never once expected anything in return.
I have nothing but the utmost respect for Sandy. She is honest, sincere and compassionate.
Those aren’t just adjectives I’m throwing on paper, your honor, they’re real. It was a countless
amount of times that I have seen her show compassion to total strangers and offer help. She is
someone we want and need in our community, not taken out of it.
No matter what happens in the near future, I’ve learned enough about Sandy to know that she
will always strive to do the right thing. She will take any bad situation and learn from it, grow
from it. It breaks my heart to see someone who has done so much for others, be in the situation
they’re in. I will support Sandy in every way possible. She is a stand up, sincere person. The
community needs her around.
Thank you for taking the time to read this. I pray that you see what we all see in her, your honor.

Respectfully,

Holly Amig




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Janice L. Ulinski
118 Broadlawn Drive
Elizabeth, PA 15037
412-715-7918
JanLUlinski@gmail.com

July 15, 2023

Honorable James Emanuel Boasberg
Chief Judge of the United States
District Court District of Columbia
333 Constitution Avenue N.W.
Washington, DC
20001

RE: United States vs. Weyer,
1:22-cr-00040

To The Honorable James Emanuel Boasberg,

I am writing in reference to Sandra Weyer who is being sentenced in
September, 2023. My name is Janice Ulinski and I've known Sandra for some
years now and we are good friends. I believe I'm in a position to speak of
Sandra's moral character, so I hope you will take this letter into account when
making your decision. I have tears in my eyes as I write this letter on her
behalf.

Sandra is, in short, a very good and caring person. She has always been
genuinely kind and generous with others. She would give you the shirt off of
her back. She is a caring and great friend to all she meets no matter how long
she's known them. She's always willing to give a hand to anyone in need. She
has a great deal of integrity and strives to do the best she can. She is an
overall good person and loves her family and friends.

She is sincerely remorseful and for these reasons I am humbly asking the court
for a lenient sentence.




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It must be difficult for you to make decisions like this when you don't actually
know the person standing in front of you, so I hope you look at my letter and all
other letters you will receive and understand that Sandra is the kind of person
around whom people love and respect and are proud to call their friend. That has
much to say. So please let this be a factor in your decision.

If I can be of further assistance, please contact me from my
information provided above.

Thank you for your time in reading and taking into consideration my letter.

Sincerely,
Janice L. Ulinski




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To Whom it May Concern,


My name is Jim Quoss and I am the Pastor of Freedom Biker Church York PA and I
am writing to you concerning one of our members, Sandy Weyer. I have known
Sandy for Approximately five years and I have known her to be a person of good
moral values and to be a person of great character. Sandy is well liked within our
community and has always been there for the people in our community. In my
experience, she is a patriot who loves this country and I have never known Sandy
to intentionally do anything that would do harm to anyone in our community or
that would intentionally do harm to this country. It is my hope and prayer that you
will take all of this into consideration in whatever decisions and judgements need
to be made concerning Sandy. Thank you for your time and please feel free to
contact me if you have any questions. I will leave my number below. Be Blessed
and Be Free!
Sincerely,
Jim Quoss, Pastor
Freedom Biker Church York PA
2550 Pine Grove Road
York, PA 17403
717-873-3214




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                                                                                                            7/25/23


Honorable Judge James Boasberg
RE: United States vs. Sandra Weyer
Case: 1:22-cr-00040
Sentencing


Judge Boasberg,

My name Is Kelly Miller, I’m writing to you today on behalf of Sandra Weyer or “Sandy”. I’m a local business owner who
teaches CPR and First Aid as well as OSHA and Safety training. I met Sandy during the fall of 2020, arguably one of the
toughest times in all of our recent lives. I met her through happenstance while visiting a mutual friend. Immediately,
what impressed me most about Sandy was her positivity. Since that time, I’ve come to know her well and consider her
one of the most sincere, thoughtful, passionate, and encouraging people I’ve ever met and am proud to call her my
friend.

The pandemic was difficult on everyone for various reasons, for me it was devastating to friendships as well as
professionally and financially. I worked in healthcare, all three of my jobs were related to the service of others in that
capacity. As a result of the COVID fall out, I thought about starting my own business. When I told her that, she became
excited and with smiles told me I “have to do it.” Sandy was such a large influence in making the decision to and actually
do it.

Part of that business is teaching CPR and First Aid. Without hesitation, Sandy arranged a class in her area, not only to
support me but also encouraged others to learn skills that could save a life. During that class, one of the participants was
struggling with their belief that they were smart enough to grasp the concepts, she was right beside that person,
believing in them, encouraging them, and ultimately helping them succeed purely by lending her positivity. I’ve never
seen someone, by nature, that builds others up so effortlessly. She truly believes in the goodness of others!

Sandy and I are not in agreement 100% politically. I’m an Independent, and on various beliefs, we disagree. That has
NEVER translated in to how she treats me as a person, let alone affects her ability to be a positive influence and friend.
She saw my talents, encouraged and believed in me at a time when it mattered most and was a consummate champion
for me to be and do positive things for not only myself, but the community at large. Although I was not there on January
6, I believe Sandy’s passion was her only driving force, nothing more. I’ve only known her to respect the law, law
enforcement, our constitution, our country, and the processes it has in place.

Thank you for taking the time to read my words. My only hope is that you truly consider them. There are many things
that add up to what we are as people, as citizens…. And there is so much more to Sandy than one day, so very much
more. Our community is better for having her in it for more reasons than I could list here.


Respectfully,
Kelly Miller




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Kelsey Schumacher
318 Broadway Drive
Pittsburgh, PA 15236

July 29, 2023


Honorable James Emanuel Boasberg
Chief Judge of the United States District Court
District of Columbia
333 Constitution Avenue N.W.
Washington, D.C. 20001

RE: United States v. Weyer, 1:22-cr-00040, (D.D.C)
Dear Honorable Judge James Emanuel Boasberg,

My name is Kelsey Schumacher and I am a stay at home mom. When I first met Sandy three years
ago she instantly felt like family. She’s been like a best friend to me. I can tell her anything and trust
her not to judge or divulge. Sandy is the most loving person to everyone. She loves this country with
her whole heart. Please don’t put her away. If you must, please chose the minimum. There are so
many people that would miss her. I need her. She is the one person that pushed me out of my com
fort zone. Sandy still has a child's soul. She loves to play and have fun. I love that about her. She has
shown me how to live life to the fullest. She has taught me to find the fun in life. Writing this makes
me so sad. I will be devastated if she is gone from my life. Please, I beg of you don’t take her away
from me.

Respectfully,




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Kelsey Schumacher




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Kimberly Waigand
2924 Custer Avenue
Pittsburgh, PA 15227

July 24, 2023

Honorable James Emanuel Boasberg
Chief Judge of the United States District Court
District of Columbia
333 Constitution Avenue N.W.
Washington D.C. 20001

RE: United States v. Weyer, 1:22-cr-00040, (D.D.C)

Dear Honorable Judge James Emanuel Boasberg,

 My name is Kimberly Waigand, I along with my husband Donald own a diner in Pittsburgh,
Pennsylvania. I met Sandy three years ago at our State Capitol and it was love at first sight. We
just clicked! Sandy is selfless, kind and loving, just what you want and need from a friend. Even
though we are 195 miles in distance we make the time to visit each other in our homes and
spend quality time together. Sandy has become a best friend. A loyal friend and confidant. A
friend I communicate everyday with.

Never in my life would I have imagined I would be writing a letter to a Judge requesting
leniency for a friend. I surround myself with wholesome law-abiding people. People that add
value to your life. That is exactly what Sandy Weyer does! During Covid lockdown we were
struggling as a business paying our bills (we did not take the government handout). Sandy took
the time and used her own resources to create a fundraiser for us. The money raised helped to
keep our lights on. She has helped countless people in her own community who were scared to
go shopping, go to a doctor's appointment or just go out in public.

Politically Sandy is a doer. A good citizen. Sandy believes in the electoral process. She does her
due diligence and vets political candidates. When she finds one that she supports she
volunteers. Working tirelessly traveling throughout our home state of Pennsylvania.

Sandy has strong morals and great strength. She found herself being persecuted not only by
the FBI but on social media and the news. She kept her head high and her mouth shut. She
never lashed out or pitied herself. She keeps on keeping on. Doing what she does best, keeping
her life and her house clean and tidy. She is nothing what the FBI or social media claims her to
be. I have been with Sandy to many rallies at our State Capitol, which allows open and




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concealed carry. There we held up signs, voiced our opinion, sang, laughed and cried. During
those rallies we entered the building used the restroom, walked around, visited offices, took
pictures and an impromptu personal tour of the Capitol by a Senator. That is what we did and
were accustomed to.

On January 6th our President at the time requested the people walk down to the Capitol of the
United States of America and peacefully voice their opinion. Sandy did as the president
requested. Why would this rally be any different? Sandy could not take the plea deal. She
couldn’t sign that. Why? Because her only intention was to voice her opinion and listen to yet
another speech of Senator Doug Mastriano. I beg of you to try and see it from Sandys
perspective. I plead for leniency. I strongly urge you to consider house arrest. Sandy’s worst
fear is coming home to a dirty unkept house.

God be with you during this time as you decide the fate of one of the people. Please know that
whatever decision you make, Sandy Weyer will never lose the support and love of her family
and friends.

Respectfully,


Kimberly Waigand




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Kimberly Waltman                                                             7/27/23
York, PA 17408

Dear Judge James Boasberg,

I have known Sandy Weyer for almost 4 years. I was afraid to go shopping after Covid.
After talking to Sandy about how I felt she met me in the parking lot of Walmart and
walked with me into the store. At first I was nervous but she assured me that I was okay
and stayed with me while I shopped for much needed necessities. She then told me that
she was going into another aisle and that I needed to walk around by myself so I could
readjust to being out in public by myself.

This may sound like a small issue in someone’s life but it gave me the confidence to be
back out in public after the lockdowns. I am grateful for her compassion and concern for
her friends and her community.

She has been helpful to so many of us that were in need of a friend during and after our
country suffered so badly from the Covid lockdowns. She continues to be that “rock” for
so many of us to this day.

I ask that you take into consideration all that Sandy has been to her friends, family, and
her fellow citizens before imposing your sentence on her.


Thank you,
Kimberly Waltman




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Laura Basso
Camp Hill PA, 17011

July 15, 2023

Honorable James Emanuel Boasberg
Chief Judge of the United States District Court
District of Columbia
333 Constitution Avenue N.W.
Washington D.C. 20001

RE: United States v. Weyer, 1:22-cr-00040, (D.D.C)

Dear Honorable Judge James Emanuel Boasberg,

My name is Laura Basso. I thank you for reading my letter of support for Sandra Weyer. I met Sandy
three years ago through mutual friends when I was in need of support. Sandy immediately welcomed me
into her home and offered support and friendship during difficult times for me. If I ever had a problem or
needed someone to talk to, I knew that Sandy would always be there for me.

Sandy is an asset to society, not a burden. Many in the criminal justice system are an apparent drain to
society, and the community is safer and better off when they are off the streets. Sandy is not a threat to
society; she is quite the opposite. She is hard-working, self-reliant, supports herself financially and gives
to others in need. The community will miss Sandy while she is away. Society is a better place with
Sandy in it.

Please find it in your heart to be lenient with your judgment for the sentencing of my dear friend, Sandra
Weyer.

Respectfully,

Laura Basso




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Linda L. Chontos
Elizabeth, PA 15037
412-216-6385
Lindachontos@yahoo.com

July 16, 2023

Honorable James Emanuel Boasberg
Chief Judge of the United States District Court District of Columbia
333 Constitution Avenue N.W.
Washington, DC 20001

RE: United States vs. Weyer, 1:22-cr-00040

To The Honorable James Emanuel Boasberg,

I am writing in reference to Sandra Weyer who is being sentenced in September,
2023. My name is Linda Chontos and I am a retired Registered Nurse of over 40
years.

Sandra has been a faithful and supportive friend through the years. She has always
been there for me and I knew I could trust her as my confidant. She is a hard worker
and does everything to the best of her ability. Whatever she does is with her whole
heart.

Sandra loves her family and community. She is a giving person and always puts
family and others first.

I have always admired her adventurous spirit, sense of humor and spontaneity. She
would never intentionally cause harm to anyone as that is not her character.

Please consider her positive attributes expressed by myself and many others.

Thank you kindly for your mercy.

Respectfully,

Linda L. Chontos




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Dear Honorable Judge Boasberg,

I am honored to be asked by Sandy Weyer to write a character reference for her. The first time I
met Sandy was in the fall of 2020. She and some others were in charge of a local citizens group
I wanted to find out more about.

I walked into the back of the meeting, and from the front table where she was sitting, she smiled
at me. I specifically remember that because she looked like someone I knew and I had to do a
double take, as I thought it was the person I know-because she smiled at me as if she knew me,
even though she didn't.After attending several of these community meetings and listening to her
speak, I got to know her a little bit better. She always spoke the truth with conviction and
compassion. I could tell she was a person of true character. And after I got to know her
personally a little bit more, I found that to be very true.

Sandy loves deeply, and that includes her country and its citizens, whom she wants to live in
freedom. She is also extremely smart, fun loving, caring, professional, conscientious and an
animal lover. Something that impresses me about Sandy is that she has many of our country's
founding documents memorized. She makes a good leader because she is kind, diplomatic,
knowledgeable, and passionate. She stands up to challenges and always seems fearless.

Sandy has always been kind to me. She always smiles, and gives hugs. She is warm with those
she trusts. The friends that she associates with are also people of good moral character. Sandy
is hard working. She doesn't depend on others to do what she is responsible to do herself.

Sandy deeply believes in God and tries to live a lifestyle that reflects that. She is an honest
person. I would 110% trust Sandy with anything-money, my family or pets, making a good
decision on her or my behalf, or to find an answer to a question or a problem. She is also
honorable-she can be trusted to do what she says she will, and she would stand up for
someone who could not stand up for themselves. She will treat someone fairly whether she
knows them or not. She has integrity and I think that's why I like her so much.

Trust is important to Sandy. She herself is trustworthy, and she will stand with you until the end if
she knows she can trust you. She is a faithful person.

I honestly count it a blessing and an honor to know Sandy. I'm also honored that she has asked
me to tell you about her. She is a person of character, integrity, and honor, and even though it
sounds sappy, both my life and the world really are a better place because of her.




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Thank you for reading this long letter. I hope that it shows who Mrs. Sandy Weyer truly is-a
caring, peace loving, responsible person who would not hurt anyone-but instead, seeks to
improve her own circle, as well as the world. Sandy is a person of character, integrity, and
honor.

Finally, because Sandy is a good and peaceful person, and a hard working, contributing
member to society, I respectfully request that Your Honor would consider lessening her
sentence, or release her to her home under house arrest, so that she can continue to be
available to her kids, grandkids, mother, husband, siblings and friends. There is not a doubt in
my mind that she wouldn't cause any problems or not follow any rules, especially as she would
be very grateful for the mercy and kindness you granted to her.

Thank you so much for your consideration.



Respectfully Submitted,

Lisa Sibley

Dillsburg, PA




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Lori Cebrosky
Enola Pa 17025

July 23, 2023

Honorable James Emanuel Boasberg
Chief Judge of the United States District Court
District of Columbia
333 Constitution Avenue N.W.
Washington D.C. 20001

RE: United States vs Weyer, 1:22-cr-00040, (D.D.C.)

Dear Honorable Judge James Emanuel Boasberg,

My name is Lori Cebrosky. Sandra Weyer asked me to write a reference letter, but the truth is
that I was already planning to do so before the request. I feel strongly about Sandra’s future and
I want to make you feel the same way.

Sandra is a person of good moral character. I’ve known Sandra for 8 years. She is always there
to help friends and family when they are in need. I’ve witnessed her go to great lengths to help
her brother, who recently passed from pancreatic cancer. She spent every day helping to take
care of him and giving support to her mother and siblings. I have personally witnessed Sandy
helping family and friends whenever needed, whether with personal assistance or financially.
She has always been an upstanding and kind hearted citizen in the community. Sandy has been
a great source of camaraderie and a good friend to me.

In addition to our friendship, Sandra is an upstanding member of her neighborhood. While it is
unfortunate that she has made some bad decisions, thus resulting in this case. It comes as no
surprise that she is ready to accept responsibility for her actions. I believe that as we move
forward, she will emerge a better person.

It is my sincere hope that the court takes this letter into consideration at the time of sentencing.
Despite the current case, l believe Sandra Weyer to be an honorable individual, a valuable
member of the community and a good human being.

Sincerely




Lori Cebrosky




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Matthew Foltz
4443 Venus Ave
Harrisburg, Pa 17112


July 26, 2023



Re. United States vs Sandra Weyer 1:22-cr-00040

To The Honorable James Emanuel Boasberg



Thank you for the opportunity to tell you about the person Sandra is to me. I met Sandra a little
over 3 years ago. She has always been a person filled with a giving heart & concern for others.
Sandra has donated her time in many events over the last few years helping to raise money &
awareness for small businesses in Pennsylvania. She has always been such a sweet & caring
person who I feel would give the shirt off her back to anyone. She has a work ethic like no one I
have met before. Sandra has been an intricate part in giving back to her community.



Sandra’s commitment to her family & friends is like nothing I have seen before in an individual.
She is a lover of all people & most importantly her commitment to God. Sandra has the values
and integrity of someone everyone would be lucky enough to have in their lives, I know my life
has been made better by having Sandra in it.



Sandra is a wonderful friend whom I believe would continue to be huge asset to her community
helping others in need & being a voice for the voiceless. Thank you for taking the time to read
this letter & allowing me to give insight on the wonderful person Sandra is to her family, friends
& strangers alike.



Sincerely,



Matthew Foltz




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Dr. Paul F. Emery, M.D.
Mechanicsburg, Pa 17055

July 17, 2023

Honorable James Earl Boasberg
Chief Justice of the United States District Court
District of Columbia
333 Constitution Avenue N.W.
Washington, D.C. 20001

Re: United States vs. Weyer, 1:22-cr-00040. (D.D.C.)

Dear Honorable Judge James Earl Boasberg,

My name is Paul F. Emery, M.D. I am a retired physician and a Naval veteran. I was the
medical director for the prison health system of the state of Delaware. Thank you for
taking the time to read my letter in support of Sandra Weyer. I have known Ms. Weyer
for over three years. During that time, I have gotten to know her and her family and our
community family. She has demonstrated an extraordinary love for God, country, and
her fellow mankind. Many of us have benefitted from her kind words of support when we
were struggling. She has been the glue to hold us together and the shining light of hope
when times were dark. She has been a good mediator when times were tough and is
well respected for her abilities to make sure all sides of the question were heard. She is
definitely an asset to our community.

Having worked in the prison system, I have seen the personalities who have been
committed there. Sandra does not display any of these malicious traits. On the contrary
she demonstrates the character that we all should emulate.

Her love for God is shown by her unwaning faith during her recent situation. She is
confident that God will be with her in her future times.

I will continue to stand by Ms. Weyer and I support her because I believe in who she is
and what she stands for.

Respectfully,

Dr. Paul F. Emery




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Philip Smith
Hanover, PA 17331

August 9, 2023

Honorable James Emanuel Boasberg
Chief Judge of the United States District Court
District of Columbia
333 Constitution Avenue N.W.
Washington D.C. 20001

RE: United States v. Weyer, 1:22-cr-00040, (D.D.C)

Dear Honorable Judge James Emanuel Boasberg,

As a member of the Franklin Township, York, PA Community Emergency Response Team (CERT),
I would like to convey my thoughts and experiences with Sandra Weyer. We first met in early
2021. I was drawn to Sandra’s many valued personal traits and such willingness to caringly
assist others. These traits were in line with the CERT philosophy and of other first responders.

Sandra is a person someone turns to for help when needed. She does not hesitate to put others
before herself. This trait has been witnessed many times in my encounters with her. I would
say she is a very passionate and caring person that one would want to be with in times of need
or in your everyday life.

When it comes to leadership, Sandra is in front selflessly assisting others. These leadership
skills in people are not possessed by all and glad have met Sandra and experience her
motivating and inspiring style and caring personality. She naturally draws people into her circle
of influence with her friendly and giving personality.

Your Honor, Sandra is a person we want and need in our community and hope you take my
thoughts and opinion into consideration. I am sure she will learn from this situation and become
an even greater asset to the community. I fully support Sandra and look forward to continuing
to work with Sandra to improve our community.

Thank you for letting me express my thoughts as you consider the appropriate
sentence.

Respectfully




Philip Smith



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Ray Sibley
Dillsburg, PA

August 10, 2023

Honorable James Emanuel Boasberg
Chief Judge of the United States District Court
District of Columbia
333 Constitution Avenue N.W.
Washington D.C. 20001

RE: United States v. Weyer, 1:22-cr-00040, (D.D.C)

Dear Honorable Judge James Emanuel Boasberg,

My name is Ray Sibley. I live in Dillsburg PA. I am writing on behalf of Sandy Weyer.

About 2 1/2 years ago my wife started going to a local community meeting. She came home
very excited, saying she had met people who loved our country and wanted to bring together
people to lobby to preserve the constitutional freedoms we grew up with, like freedom of speech
and freedom of religion. She was especially excited about her new friend Sandy who had a
talent for bringing people together.

I began attending and was impressed. Sandy is humble and selfless, and genuinely cares about
people. She welcomes new people and is kind and friendly with them. She is hard working and
made the meetings worth attending for everyone by inviting guest speakers and even bringing in
candidates to express their views. She always encouraged people to be involved in practical
ways.

She is a good person at heart and people recognize that and enjoy working with her and being
in a group that she has brought together. She wants good things for everyone. I hope that she
will be released because she is not a threat to anyone, even the people who disagree with her.

We all enjoy the fellowship of the people she brought together and we have a better sense of
community because of her. I admire the dedication and willingness to work hard that she has
and her desire to advocate for freedoms for everyone. Although she is passionate for freedom,
she is also kind-hearted towards people on an individual level. This is someone who is
dedicated to doing good to others, even to those who disagree with her politically.

Ray Sibley
Dillsburg PA




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Rhonda Fochtman
York, PA

July 24th,2023

Honorable James Emanuel Boasberg
Chief Justice of the United States of District Court
District of Columbia
333 Constitution Ave. NW
Washington DC 20001

RE: United States V. Weyer 1:22-cr-00040(D.DC.)


Dear Honorable Judge James Emanuel Boasberg,

My name is Rhonda Fochtman. Thank you for allowing me to express my support for Sandra
Weyer. I’ve known Sandy for approximately three years. I met her during some of the most
tumultuous times in the history of our country, or at least in my lifetime.

During the pandemic, I witnessed a lot of people struggle with fear, frustration, and
hopelessness. In the midst of this, I was privileged to meet Sandy. I watched her as she
selflessly supported,and helped others to cope. Sandy is very kind, compassionate, and loyal to
those she meets. She is passionate about what she believes, and articulates it well to others,
yet always gracious and kind.She also admits her mistakes and strives to be the best she can
be and encourages others to do the same.

Your honor, I’m asking you to take all this into consideration with her sentencing . I believe she
will learn from her mistakes and come through this an even better asset to her community and
country.

Respectfully,
Rhonda Fochtman




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Rich Basso
Camp Hill PA, 17011

July 15, 2023

Honorable James Emanuel Boasberg
Chief Judge of the United States District Court
District of Columbia
333 Constitution Avenue N.W.
Washington D.C. 20001

RE: United States v. Weyer, 1:22-cr-00040, (D.D.C)

Dear Honorable Judge James Emanuel Boasberg,

My name is Rich Basso, thank you for reading my letter of support for Sandra Weyer. I first met Sandy
over three years ago through my wife Laura when we were in need of emotional support. I was having
difficulty reintegrating into society after the business lockdowns. Sandy was a leader in taking small
groups back into public for shopping trips, at a time when many people were terrified to go out again. We
would even meet in small groups and go to restaurants at times.

Sandy is an example of compassion. There was one friend that would occasionally join us, who had
slight social challenges. Rarely, a few in the group would make negative remarks about him, but not
Sandy. She would defend him and discourage these kinds of comments.

In retrospect, Sandy would have acted differently during her visit to DC. I urge you to consider the many
external factors that affected the visitors that day- including the media, politicians that encouraged the
events that unfolded, and the actions of security which actually removed barriers themselves.

Last, I am asking you to be lenient with Sandy for my own benefit, as I will sorely miss her.

Sincerely,

Rich Basso




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Robert Pomeroy
Enola Pa 17025

July 23, 2023

Honorable James Emanuel Boasberg
Chief Judge of the United States District Court
District of Columbia
333 Constitution Avenue N.W.
Washington D.C. 2001

RE: United States vs Weyer, 1:2-cr-00040, (D.D.C.)

Dear Honorable Judge James Emanuel Boasberg,

My name is Robert Pomeroy, I am Sandra Weyer’s brother. I would like to thank you for allowing
me to voice my support on behalf of my sister’s character and to offer a more personal and
truthful insight to who she really is and what she means to her family, friends and community.

Sandy plays a key role in helping her siblings take care of our aging mother. She helps with
preparing food, transportation to Dr. appointments, picking up prescriptions, as well as financial
support and companionship.

Sandy has many friends. All that I have personally met seem to be of good character and high
moral compass. They all speak very highly of her and what her friendship means to them.

Sandy has always been active in her community and surrounding communities. She always
volunteers her time to help feed the less fortunate at different times of the year. As well as toy
drives throughout the year for less fortunate children and many other charity events. This often
happens at her own financial expense.

Although my sister has made mistakes in judgment regarding the events of January 6th, I
personally find my sister to be of extremely good character, with a very high moral standard.
As her brother I am very proud of that.

I would like to thank you, your honor, for taking the time to read this letter and hope it helps you
understand who my sister really is and how much we all love and need her here with us.


Sincerely

Robert L. Pomeroy




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August 2, 2023



To whom it may concern:



We have known Sandy Weyer for three years. We know Sandy to be a kind and caring person that loves
her family, community, and country.

Sandy is a dedicated wife, mother, and grandmother, providing care and nurturing for all those in her life.
She is a compassionate and generous friend that is there for others when they are in need.

Sandy is community minded and participates in local events that bring people together. She loves her
country and believes in principles that provide opportunities for all Americans.

We are grateful that Sandy is part of our lives. Please contact us if you would like any additional
information.



Sincerely,

Ronald and Cheryl Forsyth
28 Ingham Drive
Stevens, PA 17578
717-380-3241/717-271-9354




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Suzanne R. Krautheim
2503 Mallard Way
Mechanicsburg, PA 17055

Honorable James Emmanuel Boasberg
Chief Justice of the United States
District Court District of Columbia
333 Constitution Avenue N. W.
Washington D.C. 20001

RE: United States vs. Weyer

To the Honorable James Emanuel Boasberg,

I have known Sandra Weyer for over 40 years. She has been my sister-in-law for almost 40 of those years.
When my brother introduced me to her, I felt that she was the most perfect person for him and it shows by how
long they have been together. She was strong in her beliefs and her family ties and she is still the same today.

She did everything for her young family to give her sons the best life she could, including sacrificing a lot of her
own goals in order for them to succeed. As all parents do, since we have no guidebook to perfect parenting, she
and my brother made mistakes. My husband and I have done the same. But she was there for my son’s when
they became veterans and was proud of them for their service.

I believe she made a mistake. As we are human and all of us make mistakes. But I also believe that her mistake
is not one to be punished harshly. Her lifetime of service to her community and family should be something
that should be kept in mind when sentencing her. We all still need and love her and taking her away would be
heartbreaking to us all. At almost 60 years old I do not think that one mistake should take away the years of
love and sacrifice that she has given.

When my son who was a veteran recently passed, her family was there for mine. I believe she is truly
remorseful of her actions and would sincerely appreciate a chance to redeem herself to the court’s satisfaction if
given the chance. I would sincerely appreciate, and be grateful for, you to give her that chance.

Please take this letter as a plea for leniency on behalf of my sister-in-law Sandra Weyer.

Sincerely and Respectfully submitted,

Suzanne R. Krautheim




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Tracy E Wilson
York, Pa

July 20th, 2023

Honorable James Emanuel Boasberg
Chief Judge of the United States District Court
District of Columbia
333 Constitution Avenue N.W.
Washington D.C. 20001

RE: United States v. Weyer, 1:22-cr-00040, (D.D.C)
Dear Honorable Judge James Emanuel Boasberg.



My name is Tracy Wilson. I am the co-owner of a small business in the restaurant and
microbrewery industry as well as a born and raised resident of our beautiful state of
Pennsylvania. I am grateful for the opportunity to show my support for Sandy Weyer, and
appreciate your consideration of these supporting letters in her case.
I had the pleasure of meeting Sandy in the summer of 2019. As a small business owner,
navigating a very unfamiliar situation, all while trying to do the best thing for our community,
business, staff, families, and livelihoods, meeting Sandy quickly became one of the most valued
moments in those troubling times.
Our struggles to even find solid information through our state's required outlets was just a small
part of the chaos that we faced. We, like the rest of the world, were watching the ever changing
guidance. We also, like so many other small businesses, stood desperate and idle waiting for
our state to do something to help us.
Sandy was instrumental in helping us meet and engage with fellow business owners and other
supporting organizations, in hopes it would help us navigate our situation.She supported our
business continuously, while also bringing new faces of support, week after week. She became
our “unofficial” liaison officer of sorts, we could not have been more grateful. She connected us
with our state reps, and other organizations that were trying to help us all survive what truly
has created the most difficult struggles financially, that our industry has faced in my lifetime.
During this time, myself and my business partner got to know Sandy on a more personal level
and immediately agreed that we had befriended a great human. We spent many evenings
talking about the realities of life and how affected we were by so many things that were
happening, not only in the confusion of a pandemic, but also within concerns for our families,
and the community around us.
Sandy is a person filled with humanity, compassion and encouragement. During our many talks,
I learned that Sandy was not interested in steering us to believe anything other than what we
did. She did not persuade us to handle our challenges in different ways, but she did listen and
support our choices. She understood and just simply showed us the same loyalty that she has
shown for everything else she believes in, including our nation.We are a society from many




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different walks of life. Each impacted differently by every situation, every obstacle, every
encounter. Sandy is not a person of discontent or destruction. She is a person of love and
honor. She is a person that stands up for the values she believes in, regardless of others
opinions, while also respecting the differences of other opinions, something we could all use a
lot more of within our society.
After watching Sandy handle this current situation with a calm integrity that I myself might
struggle to find in a similar situation, I have no doubts that whatever the outcome is, she will rise
above and come through it an even better person than she was going in. A person I truly wish
you could know when you are the one deciding the future she must face ahead. I do not envy
anyone that has and continues to be involved in deciding the fate of the people that truly meant
for their voices to be peacefully heard during a nation’s systemic divide. I sincerely believe that
Sandy Weyer intended to do nothing more than that.

Thank You,
Tracy Wilson




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July 23, 2023

Honorable James Emanuel Boasberg
Chief Judge of the United States District Court
District of Columbia
333 Constitution Avenue N.W.
Washington D.C. 20001

RE: United States v. Weyer, 1:22-cr-00040, (D.D.C)

Dear Honorable Judge James Emanuel Boasberg:

My name is Val Boland and I am a homemaker living in Harrisburg, Pennsylvania. I previously
worked for years as a Therapeutic Staff Support (TSS) for over 20 kids who were on the autism
spectrum. Thank you for allowing me to express my support of Sandra Weyer. I have had the
pleasure of knowing Sandy for three years, and I am writing to offer my perspective of Sandy
and her character as a friend of hers.

I first met Sandy during the pandemic. We both were at a freedom rally at the Pennsylvania
State Capitol Building in Harrisburg. Sandy and I happened to the praying together with a group
on the steps of the Capitol Building. Our friendship developed from there. I admired Sandy’s
passion for freedom, the constitution, and the well-being of everyone. She impressed me as
someone willing to help anyone and to fight for all that is good. She would pray with strangers
who were troubled by the pandemic and their personal situations.

I understand that Sandy has been convicted for activity on January 6, 2021. Despite the result
of the conviction, I am amazed at how Sandy has continued to be a passionate disciple for
Jesus Christ. Her words and deeds are a constant reflection of her discipleship. She has the
spiritual gifts of faith, servant/ministry, and hospitality. Sandy has many strengths, but the main
strengths that I observed were her positive attitude, her honesty, her desire to constantly
improve herself, and her willingness to help others.

Regardless of the outcome, Your Honor, I stand beside my friend, Sandy Weyer, and offer her
my support and help. Thank you again for allowing me this opportunity to express my thoughts
as you consider the appropriate sentence.


Sincerely,

Val Boland

3916 Afleet Alex Way
Harrisburg, PA 17110




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Valerie Wolfe
105 Country Ridge Drive
Red Lion, PA 17356


25th July 2023


Honorable James Emanuel Boasbery
Chief Judge of the United States District Court
District of Columbia
333 Constitution Ave., NW
Washington DC 20001

RE: United States v. Weyer, 1:22-cr-00040, (DDC)



Dear Honorable Judge James Emanuel Boasberg,




I’d like to thank you for allowing me to express my utmost support for my best
friend, Sandy Weyer. I met Sandy four years ago and proud to say my best
friend but she has many of us that she calls best friends. Since meeting Sandy
we became forever friends to forever family!




Sandy is a daughter, sister, wife, mother, grandmother, aunt and a friend! She
is loved by many! When you get to know Sandy you will know there are three
things that she stands for and supports! God, Country, Family!!!! Sandy loves
our beautiful Country! The Land of the Free and Home of the brave!




Sandy is one of the most upbeat, positive, caring, strong, honest, loyal,
generous, kind, compassionate, positive, trusting, witty, smart, energetic, easy
going, attentive, hard-working, supportive, steadfast, fun-loving Americans I
know! Sandy thinks of others before herself even while going through all this
since being arrested. She gives much more than she receives.




This woman means the world to me and I can’t comprehend she might be
going away for a while. I’ve always told her she wasn’t going anywhere and I
totally believe that until now as sentencing is looming I’m not sure. Your
Honor, I hope you take into consideration that Sandy is remorseful for her



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action and she didn’t cause any harm.
Sincerely,



Valerie Wolfe




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Vicki Lynn Comfort
Lancaster, PA 17603

July 14, 2023

Re: United States vs Sandra Weyer 1:22-cr-00040


To The Honorable James Emanuel Boasberg

It is a genuine honor to write this letter of recommendation for Sandra Weyer. I met Sandra about three
years ago through mutual friends.

From the start I recognized Sandra’s exceptional ethics and values. She has been honest and trustworthy
since day one and will go out of her way for her friends. An example of this would be how she volunteers
her time for fundraising events. Not just an hour here and there, but she would spend the entire day(s)
helping on numerous occasions. She is the person that you can count on to show up and help where
many others fail. She is always punctual and doesn’t complain no matter what her task is. She is one of
the last to leave, showing her commitment to the cause and to her friends.

It is obvious that Sandra’s family is also extremely important to her. You can see the love in her eyes
whenever she speaks of them. She works tirelessly making sure they are provided for in many facets.

I believe some of the reason Sandra is such an exceptional person can be found in her commitment to
God. This has made her the loving, empathetic person she is and will continue to be.

I will always support Sandra and I wholeheartedly believe that she is and will continue to be an asset to
her community, her friends, and her family.

Thank you for taking the time to view this letter.


Sincerely,
Vicki Lynn Comfort




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